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15
                                UNITED STATES DISTRICT COURT
16
                              NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
   THE APPLE IPOD ITUNES ANTITRUST                ) Lead Case No. C-05-00037-YGR
19 LITIGATION                                     )
                                                  ) CLASS ACTION
20                                                )
   This Document Relates To:                      ) PLAINTIFFS’ REPLY MEMORANDUM OF
21                                                ) LAW IN SUPPORT OF MOTION TO
           ALL ACTIONS.                           ) APPOINT BARBARA BENNETT AS
22                                                ) CLASS REPRESENTATIVE
23                                            Date:        TBD
                                              Time:        TBD
24                                            Courtroom:   1, 4th Floor
                                              Judge:       Hon. Yvonne Gonzalez Rogers
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           1 I.       INTRODUCTION
           2          Apple fails in its opposition brief to impugn Barbara Bennett’s adequacy to serve as a

           3 substitute class representative. On Friday the Court noted that it had not received any filing from

           4 Apple challenging the appointment of Ms. Bennett as class representative.1 Ex. 1, Trial Tr. at

           5 1969:20-23. Counsel for Apple claimed that nothing had yet been submitted because “we’ve not

           6 completed – we are still gathering some last pieces of information so we would like to do it in

           7 writing.” Ex. 1, Trial Tr. at 1970:2-4. Counsel further stated that he was “following up on some

           8 items.” Id. at 11-12. Now that Apple has filed its brief it is clear that its investigation turned up

           9 nothing that would in any way demonstrate Ms. Bennett is inadequate to represent the Class.

       10             Instead, Apple has come forward with only snippets of testimony from: (a) the evidentiary

       11 hearing, in which she made a prima facie showing of adequacy; and (b) her deposition on the same

       12 day, in which – far from demonstrating a lack of knowledge about the case – she showed herself to

       13 be an active and engaged person willing to see this case through to completion. Ms. Bennett’s

       14 testimony before the Court and at deposition shows that she possesses the requisite level of

       15 understanding for class representation.          It is clear from Apple’s opposition that the only

       16 representative that would suit Apple is no representative at all.

       17             Apple’s other arguments regarding this issue are all rehashes of battles fought and lost – in

       18 some cases multiple times. Apple, for example, raises the issue of reseller representation – an

       19 argument that it has now raised and lost more than five times. Apple also again raises the argument

       20 (also previously rejected) that the Court supposedly lost jurisdiction when, after class certification,

       21 Apple changed its sworn testimony regarding the affected models. Because both Ms. Rosen and Ms.

       22 Tucker undeniably had standing at the time of certification in 2011, Apple’s arguments on this score

       23 fail for the reasons the Court detailed on December 8, 2014. See Ex. 2, Trial Tr. at 1303–10.

       24             Finally, Apple’s contention that it has been prejudiced by the substitution of Ms. Bennett

       25 rings hollow where: (a) she did not testify at trial; and (b) the Court will instruct the jury regarding

       26 the substitution. Nor can Apple deny that, other than the deposition (which was not limited in time

       27       1
             All references to “Ex.” are to the exhibits attached to the Reply Declaration of Alexandra S.
       28 Bernay, filed concurrently.

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           1 or scope) it took no steps to gather any information whatsoever.2 Apple also declined the offer to

           2 briefly postpone the trial. Apple has thus suffered no prejudice by virtue of the substitution.

           3          The appointment of Ms. Bennett as the class representative will provide more than adequate

           4 representation for the millions of consumers and nearly 1,000 resellers who were damaged by

           5 Apple’s anticompetitive conduct.

           6 II.      MS. BENNETT IS WHOLLY ADEQUATE
           7          Apple does not, nor could it, contest Ms. Bennett’s standing. Ms. Bennett testified, and a

           8 receipt confirmed, that she purchased an iPod Nano from the Hingham, Massachusetts Apple Store

           9 with her personal credit card. Ex. 3, Trial Tr. at 1421:15-1422:22. She bought the device November

       10 5, 2006 as both her receipt and internal records of Apple confirm. Ex. 3, Trial Tr. at 1433:8-16. She

       11 testified that her name is on the card, and she personally pays the balance. Id.

       12             Apple’s attack on Ms. Bennett’s knowledge of the case rests on isolated instances of

       13 testimony from a two-hour deposition that ignores, as Plaintiffs previously detailed, that she

       14 provided substantive and knowledgeable answers regarding all of the important aspects of this case

       15 before the Court and at her deposition. She testified clearly as to her understanding that the case

       16 deals with Apple’s choices to block music from other sources from being usable on an iPod. Ex. 3,

       17 Trial Tr. at 1439-40. She testified that the case has to do with Apple’s DRM; she referenced the

       18 keybag and database verification protocols and that she understood that antitrust claims were

       19 alleged. Ex. 3, Trial Tr. at 1437:4-6, 11-15, 1443:6-15. That she is not an expert on the

       20 extraordinarily complex issues raised in this litigation is no basis for questioning her adequacy. Her

       21 level of knowledge is more than sufficient. Burkhalter Travel Agency v. MacFarms Int’l, Inc., 141

       22 F.R.D. 144, 153-54 (N.D. Cal. 1991).

       23             Appreciating her late addition into the litigation, Ms. Bennett testified that she was planning

       24 on reviewing documents related to the case and indicated an intention to conduct background

       25 research to more fully understand the details of the litigation. Ex. 4, Bennett Dep. Tr. at 68:13-69:3;

       26       2
              By contrast, when Plaintiffs sought to intervene K&N Industries Inc., Apple served extensive
       27 productionrequests
          document           and interrogatories, to which Plaintiffs responded within days, including the
                     of documents. A deposition was also conducted. Thus any claim that time was too short
       28 to serve any discovery is belied by the record.
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           1 73:8-12. Ms. Bennett will make another cross-country trip from Boston to the Bay Area so that she

           2 can be present for closing arguments – surely a sign that she is active and engaged in the litigation.

           3 Apple’s efforts to paint Ms. Bennett as an uninformed puppet of counsel are baseless. Ms. Bennett

           4 took it upon herself to contact the Court and Plaintiffs’ counsel. She understands the attorney-client

           5 relationship. Ex. 4, Bennett Dep. Tr. at 38:18-21. (“Q. The question is: Do you understand that, as

           6 the client, you can exercise some control over how the lawyers behave? A. Of course I do.”).

           7 “‘Whether the class representatives satisfy the adequacy requirement depends on the “qualifications

           8 of counsel for the representatives, an absence of antagonism, a sharing of interests between

           9 representatives and absentees, and the unlikelihood that the suit is collusive.”’” Rodriguez v. Hayes,

       10 591 F.3d 1105, 1125 (9th Cir. 2010).3 Ms. Bennett plainly satisfies this standard.

       11             Apple’s cases, none of which are antitrust cases, are off-base. In Monroe v. City of
       12 Charlottesville, Va., 579 F.3d 380, 385 (4th Cir. 2009), the plaintiff was found inadequate where he

       13 was unaware that the suit was filed in his name until he read it in the newspaper, complained that the

       14 class attorneys would not return his calls and testified that he believed the suit made him look bad.

       15 Here of course it was Ms. Bennett who contacted Plaintiffs’ counsel, and she has testified that she is

       16 willing and able to take an active role. Welling v. Alexy, 155 F.R.D. 654 (N.D. Cal. 1994) is

       17 similarly inapt. There the plaintiff failed to exhibit an interest in supervising the attorneys and

       18 expressed an intention to not supervise the attorneys. Again, a far cry from Ms. Bennett’s testimony

       19 here, in Court and at deposition. Bodner v. Oreck Direct, LLC, No. C 06-04756 MHP, 2007 U.S.

       20 Dist. LEXIS 30408 (N.D. Cal. Apr. 25, 2007) too is inapposite. In that case, the law firm appeared

       21 to be advertising for plaintiffs. Nothing of the sort occurred here.4

       22

       23

       24
              3
       25         Unless otherwise noted, citations are omitted and emphasis is added.
          4
              Apple’s other citations are even further afield. Rolex Employees Retirement Trust v. Mentor
       26 Graphics
                    Corp., 136 F.R.D. 658 (D. Or. 1991) (plaintiff startlingly unfamiliar with the case
       27 247 F.R.D. 598,the
          including what     allegations of the complaint are); McPhail v. First Command Fin. Planning, Inc.,
                          609 (S.D. Cal. 2007) (one proposed representative never deposed and the other was
       28 distracted, did not know the names of her attorneys or anything about the case).
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           1 III.       THERE IS NO PREJUDICE TO APPLE IN INTERVENING AND
                        SUBSTITUTING BENNETT
           2
                        Apple has identified no actual prejudice it suffers by the addition of Ms. Bennett. Pierce v.
           3
                Novastar Mortgage, Inc., 2007 U.S. Dist. LEXIS 36922 (W.D. Wash. May 21, 2007) (permitting
           4
                designation of new class representative just before trial). Apple’s own records confirm she bought
           5
                an affected model. A jury instruction regarding the substitution of class representative will be
           6
                provided, and there has been an agreement that Ms. Bennett will not testify at trial. Apple also had
           7
                an offer to continue the trial, but decided not to take that opportunity.
           8
                        Apple’s claims of prejudice specifically with respect to Ms. Bennett melt away under closer
           9
                scrutiny. Apple’s lawyers had a chance to ask any questions they wanted of Ms. Bennett both in
       10
                Court and at deposition. And despite Apple’s counsel’s claim that he was investigating issues
       11
                related to Ms. Bennett, everything that Apple has in its opposition, filed Saturday, December 13,
       12
                2014, was available to it at the conclusion of Ms. Bennett’s deposition on Tuesday, December 9,
       13
                2014. Apple’s claim that it is prejudiced because it will not be able to conduct the type of
       14
                investigation it previously conducted regarding the former class representatives is unpersuasive. Not
       15
                only were its earlier “investigations” needlessly invasive (with Apple demanding complete forensic
       16
                imaging of iPods and home computers), but Apple here requested nothing from Ms. Bennett despite
       17
                the fact that the Court appeared willing to allow Apple time to conduct whatever investigation it
       18
                believed necessary. See Ex. 2, Trial Tr. at 1308-09.
       19
                        Although Apple cites several cases for the notion it is prejudiced by the substitution, each
       20
                falls far short of being applicable here. In Soto, a wage and hour case with a host of employee-
       21
                specific allegations, defendants had strong arguments related to “the specific identities” of the
       22
                plaintiffs, including particularized defenses relating to the typicality (not adequacy) of the plaintiffs.
       23
                Soto v. Castlerock Farming & Transp., Inc., No. 1:09-cv-00701 AWI JLT, 2011 U.S. Dist. LEXIS
       24
                87680, at *16-*18 (E.D. Cal. Aug. 9, 2011). Not so here, where it is undisputed that Ms. Bennett
       25
                purchased an iPod during the Class Period; any conceivable defense Apple has would apply to the
       26
                entire Class. Osakan, a wage-and-hour and discrimination case, is nothing like this case. There,
       27
                before any efforts at adding an additional plaintiff were made, and before a class was certified, the
       28
991145_1        PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION TO APPOINT
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           1 case was settled. Osakan v. Apple Am. Group, No. C-08-4722-SBA, 2010 U.S. Dist. LEXIS 53830,

           2 at *9 (N.D. Cal. May 3, 2010). The class never “acquired a legal status and apart from the named

           3 Plaintiff” that, as the Court has acknowledged exists here. Ex. 2, Trial Tr. at 1306:13-14. Apple’s

           4 citation to Flash is as perplexing as to Osakan. There, the plaintiffs in the first instance, when the

           5 original complaint was filed, never were affected by the antitrust conspiracy. In re Flash Memory

           6 Antitrust Litig., No. C 07-0086-SBA, 2010 U.S. Dist. LEXIS 59491, at *75 (N.D. Cal. Mar. 31,

           7 2010) (finding undue prejudice when plaintiffs never “made a preliminary determination that each of

           8 their representatives actually qualified” to be in the class). Finally, Apple cannot even make the

           9 iRise and Empresa cases support their position in their own parentheticals.                 ECF 1000

       10 (“Opposition”) at 16. In iRise, the amendment did not simply substitute an absent class member as

       11 her; it instead added three affirmative defenses and three counterclaims to the complaint that would

       12 have changed the complexion of trial, requiring new expert discovery, depositions and document

       13 productions. iRise v. Axure Software Solutions, Inc., No. CV 08-3601 SJO (JWJx), 2009 U.S. Dist.

       14 LEXIS 102189 at *19 (C.D. Cal. July 30, 2009). In addition the defendant there violated a

       15 scheduling order and failed to address the relevant legal standard in its papers. Id. at *10. Finally,

       16 the Emmpresa citation seems to be in error, and if not in error, it is only applicable in the sense that it

       17 uses the word prejudice. That case deals with prejudice in the context of Rule 26 sanctions,

       18 discussing whether testimony should be excluded at trial, obviously not an issue here. Emmpresa

       19 Cubana del Tabaco v. Culbro Corp., 213 F.R.D. 151 at 159-160 (S.D.N.Y. 2003).

       20 IV.           APPLE’S OTHER ARGUMENTS ARE PURELY REHASHES OF OLD
                        ARGUMENTS IT HAS ALREADY LOST
       21
                        A.     Resellers Are Properly in the Class
       22
                        Apple makes yet another stab at the propriety of having a consumer class member represent
       23
              resellers. The argument, raised continuously by Apple since 2008, was most recently addressed in
       24
              the Court’s November 25, 2014 Order. For all the reasons Plaintiffs have stated in their various
       25
              filings on this issue, Ms. Bennett, if appointed, can properly serve as representative for all members
       26
              of the Class. No evidence adduced at trial (let alone in Ms. Bennett’s testimony) warrants a different
       27
              result.
       28
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           1            B.      The Court had Jurisdiction at the Time of Class Certification
           2            Apple has never disputed former class representative Marianna Rosen’s testimony that

           3 she personally made a September 2006 purchase of the iPod 5th Generation within the Class

           4 Period. Her purchase, as well as that of former representative Melanie (Wilson ) Tucker, put

           5 them both squarely within the class definition at the time the Class was certified. Once a district

           6 court has certified a class, mooting the putative class representative’s claim will not moot the

           7 class action because, upon certification, the class acquires a legal status separate from the interest

           8 asserted by the class representative, such that an Article III controversy then exists between the

           9 named defendant and every member of the certified class. Pitts v. Terrible Herbst, Inc., 653 F.3d

       10 1081, 1090 (9th Cir. 2011) (citing Sosna v. Iowa, 419 U.S. 393 (1975)); see also Bates v. UPS,

       11 511 F.3d 974, 987 (9th Cir. 2007). As the Court explained on December 8:

       12               Regardless of the redressability of Rosen’s individual claims, the claims of the
                        unnamed class members remained a live controversy for purposes of standing. Once
       13               the class was certified, the class of unnamed persons described in the certification, as
                        I indicated before, acquired a legal status separate and apart from the named Plaintiff.
       14
                Ex. 2, Trial Tr. at 1306:8-14.
       15
                        Apple does not contend that there was no class representative with standing at the time of
       16
                certification, nor could it. Apple also ignores the fact that it approved the class notice that contains
       17
                models it later claimed were unaffected. Apple was the source of the information used to define the
       18
                Class. Years after the Class was certified, Apple submitted a declaration by Augustin Farrugia,
       19
                asserting that his previous declaration was untrue. This July 2, 2013, declaration stated that fewer
       20
                model iPods were affected by KVC and DVC than Mr. Farrugia – as Apple’s representative – had
       21
                previously sworn. This untimely assertion of a damages defense severely prejudiced Plaintiffs,
       22
                whose expert had to re-do his damages calculation. Subsequently, Plaintiffs raised the issue of
       23
                conforming the Class Definition to the models identified through Farrugia’s second declaration.
       24
                Presumably because it thought it would have a better chance of creating an appealable issue, Apple
       25
                refused to redefine the Class.
       26

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           1 V.       CONCLUSION
           2          Ms. Bennett is not only adequate, but an ideal representative who will serve the Class well.

           3 Apple’s attacks on her knowledge of the case are unavailing. And while Apple complains of

           4 prejudice by her substitution, it points to nothing concrete – particularly where it sought no

           5 documents or discovery, where she will not testify, and where the jury will be instructed regarding

           6 the substitution. Plaintiffs’ motion is therefore well-taken, and should be granted.

           7 DATED: December 14, 2014                         Respectfully submitted,

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991145_1        PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION TO APPOINT
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           1                                     CERTIFICATE OF SERVICE

           2          I hereby certify that on December 14, 2014, I authorized the electronic filing of the foregoing

           3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

           4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           6 CM/ECF participants indicated on the attached Manual Notice List.

           7          I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on December 14, 2014.

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